OPINION — AG — ** ESTATE TAXES — TIME LIMIT ON LIEN CREATED ** WHERE PROPERTY BELONGING TO A DECEDENT IS DISCOVERED MORE THAN TEN YEARS AFTER THE DATE OF DEATH OF DECEDENT WHICH HAS BEEN INADVERTENTLY EXCLUDED FROM ESTATE TAXATION, THE OKLAHOMA TAX COMMISSION MAY NOT, UNDER 68 O.S. 1971 811 [68-811](D) AND 68 O.S. 1971 815 [68-815](C), ASSESS OR ASSERT A CLAIM FOR ADDITIONAL ESTATE TAXES AND INTEREST UPON THE PROPERTY. CITE: 68 O.S. 1971 801 [68-801], 68 O.S. 1971 223 [68-223], 68 O.S. 1971 234 [68-234](A) (CHARLES L. PAIN)